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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

WIND RIVER MANAGEMENT CORP §
                           §
vs.                        §                                CIVIL ACTION NO. 3:17-cv-2674
                           §
                           §
FEDERAL INSURANCE COMPANY  §
& WALTER HAESSIG           §


                                   PLAINTIFF’S MOTION TO REMAND

TO THE HONORABLE JUDGE, SAM. R. CUMMINGS:

       Now Comes Plaintiff, Wind River Management Corp, who files this Opposed Motion for

Remand and in support thereof, would show the Court as follows:

                                    I. SUMMARY OF THE MOTION

       1.      The actionable conduct of Mr. Haessig was detailed in Plaintiff’s Original Petition.

The allegations contained therein certainly meet the federal pleading standards, and more

importantly provide a “factual fit between the allegations and the pleaded theory of recovery.”

       2.      Defendants carry the heavy burden of showing that joinder was improper, and in

this instance that burden cannot be met. Texas law is clear that an adjuster like Mr. Haessig can

be held liable for his actions (and certainly should be), and because the pleadings when accepted

as true state a claim to relief that is plausible on its face, then joinder was proper. As a result, Mr.

Haessig citizenship cannot be disregarded. Plaintiff respectfully requests that the Court remand

this matter back to state court.

       3.      Filed concurrently herewith is Plaintiff’s Brief in Support of its Motion to Remand,

along with Exhibit A & A-1. Plaintiff requests the Court take notice of the exhibits incorporated

by reference from Defendant’s Notice of Removal.
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                                  CONCLUSION AND PRAYER

        Pursuant to 28 U.S.C. § 1441(b) this case should be remanded back to the District State

Court in Dallas County, where it was filed. In the alternative, should the Court have any doubts

about the necessity of remand, Plaintiff respectfully requests that he be given an evidentiary

hearing on the issue. Plaintiff additionally prays for all other relief to which it is justly entitled.




                                                Respectfully submitted,

                                        By:     /s/ Brennan M. Kucera
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                                                ATTORNEY FOR PLAINTIFF




                                  CERTIFICATE OF SERVICE

       I hereby certify that I spoke with opposing about the possibility of agreement on a motion
to remand and we were unable to agree. Therefore, the motion is opposed.



                                                 /s/ Brennan M. Kucera
                                                Brennan M. Kucera



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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of October, 2017, a true and correct copy of the
foregoing has been forwarded to counsel of record in accordance with Federal Rules of Civil
Procedure:

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                                           /s/ Brennan M. Kucera
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